






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-12-00761-CV






In re Kenneth Crissup






ORIGINAL PROCEEDING FROM TRAVIS COUNTY





M E M O R A N D U M   O P I N I O N


		Relator, Kenneth Crissup, an inmate in the Texas Department of Criminal Justice,
filed a pro se petition for writ of mandamus in this Court.  See Tex. Gov't Code Ann. § 22.221 (West
2004); see also Tex. R. App. P. 52.1.  In his petition, Crissup asks us to issue a writ of mandamus
directed to the Texas Department of Criminal Justice and certain named employees.

		This Court does not have mandamus jurisdiction over the Texas Department of
Criminal Justice or personnel thereof.  By statute, this Court has the authority to issue a writ of
mandamus against "a judge of a district or county court in the court of appeals district" and other
writs as necessary to enforce our appellate jurisdiction.  See Tex. Gov't Code Ann. § 22.221.  The
Texas Department of Criminal Justice and its employees are not parties against whom we may issue
a writ of mandamus.  Nor has Crissup demonstrated that the exercise of our writ power is necessary
to enforce our jurisdiction.  We have no jurisdiction to grant Crissup the relief he seeks.

		Accordingly, the petition is dismissed for want of jurisdiction.





						__________________________________________

						J. Woodfin Jones, Chief Justice

Before Chief Justice Jones, Justices Rose and Goodwin

Dismissed For Want of Jurisdiction

Filed:   November 30, 2012


